     Case 1:15-cv-03411-GHW-SN                      Document 789     Filed 09/27/21   Page 1 of 2

                                                                         USDC SDNY
                                                                         DOCUMENT
UNITED STATES DISTRICT COURT                                             ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                            DOC #: _________________
----------------------------------------------------------------X        DATE FILED: 9/27/2021
AU NEW HAVEN, LLC and TRELLEBORG                                 :
COATED SYSTEMS US, INC.,                                         :
                                                                 :
                                                  Plaintiffs, :           1:15-cv-3411-GHW
                                                                 :
                              -v -                               :              ORDER
                                                                 :
YKK CORPORATION, YKK HONG KONG :
LTD., YKK FASTENING PRODUCTS SALES :
INC., SHANGHAI YKK ZIPPER CO., LTD.,                             :
SHANGHAI YKK TRADING CO., LTD., YKK :
CANADA INC., YKK TAIWAN CO., LTD., P.T. :
YKK ZIPPER INDONESIA, YKK                                        :
BANGLADESH PTE. LTD., YKK KOREA CO., :
LTD., YKK FRANCE SARL, DALIAN YKK                                :
ZIPPER CO., LTD., YKK VIETNAM CO.,                               :
LTD., YKK DEUTSCHLAND GMBH, YKK                                  :
(THAILAND) CO., LTD., YKK (U.K.) LTD.,                           :
YKK ZIPPER (SHENZHEN) CO., LTD., YKK :
AUSTRIA GMBH, YKK ITALIA S.P.A., OOO :
YKK a/k/a YKK RUSSIA, YKK METAL VE                               :
PLASTIK URUNLERI SANAYI VE TICARET :
A.S., and YKK (U.S.A.) INC.                                      :
                                                                 :
                                                 Defendants.:
---------------------------------------------------------------- X


GREGORY H. WOODS, United States District Judge:

         The Court has reviewed the parties’ September 26, 2021 letters regarding trial dates. A jury

trial in this matter will begin on Monday, August 29, 2022 at 9:00 a.m. The Court will hold a final

pretrial conference in this case on Monday, July 25, 2022, at 1:00 p.m. Both the final pretrial

conference and the jury trial will be held in Courtroom 12C of the United States District Court for

the Southern District of New York, Daniel Patrick Moynihan U.S. Courthouse at 500 Pearl Street,

New York, New York 10007. Given the new trial dates, the Court is also terminating the pre-trial

motions currently pending, which it will resolve prior to the final pretrial conference.
    Case 1:15-cv-03411-GHW-SN                Document 789         Filed 09/27/21       Page 2 of 2



        The parties are directed to submit the following materials no later than June 3, 2022: (1) the

joint pretrial order and other submissions permitted or required under Rule 5 of the Court’s

Individual Rules of Practice in Civil Cases, (2) a proposed brief, mutually acceptable description of

the case, to be read to the venire, and (3) a proposed brief, mutually acceptable overview of the

applicable law, to be read to the jury as part of the Court’s initial instructions prior to opening

statements.

        The Clerk of Court is ordered to terminate the motions currently pending at Dkt. Nos. 634,

640, 642, 644, 646, 648, 650, 652, 654, 747, and 775.

        SO ORDERED.

 Dated: September 26, 2021                            _____________________________________
 New York, New York                                            GREGORY H. WOODS
                                                              United States District Judge




                                                     2
